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 5   Attorney for Beshiba Cook

 6
 7                                  UNITED STATES DISTRICT COURT

 8                              EASTERN DISTRICT OF CALIFORNIA

 9
10   United States of America,                     No. 2:12-CR-169-MCE-11
11                     Plaintiff,
12           v.                                    STIPULATION REGARDING
                                                   EXCLUDABLE TIME PERIODS UNDER
13   Beshiba Cook,                                 SPEEDY TRIAL ACT; ORDER
14                     Defendant.
15
16                                          STIPULATION

17   1.      By previous order, this matter was set for status on July 28, 2016.

18   2.      By this stipulation, defendant Beshiba Cook, by and through her undersigned

19           counsel, now moves to continue the status conference until November 3, 2016, at

20           10:00 a.m., and to exclude time between July 28, 2016 and November 3, 2016,

21           under Local Code T4.

22   3.      The parties agree and stipulate, and request that the Court find the following:

23           a)    The government has represented that the discovery associated with this

24                 case includes approximately 2590 pages of investigative reports and

25                 related documents and recordings of thousands of wiretap calls. All of this

26                 discovery has been produced directly to counsel.

27           b)    Counsel for defendant desires additional time to consult with his client,

28                 conduct investigation and research, review discovery, and to discuss
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 1                  potential resolution with his client. Counsel for the defendant and counsel
 2                  for the government have begun discussions toward possible resolution.
 3            c)    Counsel for defendant believes that failure to grant the above-requested
 4                  continuance would deny counsel the reasonable time necessary for
 5                  effective preparation, taking into account the exercise of due diligence.
 6            d)    The United States does not object to the continuance.
 7            e)    Based on the above-stated findings, the ends of justice served by
 8                  continuing the case as requested outweigh the interest of the public and
 9                  the defendant in a trial within the original date prescribed by the Speedy
10                  Trial Act.
11            f)    For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §
12                  3161, et seq., within which trial must commence, the time period of July 28,
13                  2016 and November 3, 2016, inclusive, is deemed excludable pursuant to
14                  18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4] because it results from a
15                  continuance granted by the Court at defendant’s request on the basis of
16                  the Court’s finding that the ends of justice served by taking such action
17                  outweigh the best interest of the public and the defendant in a speedy trial.
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 1   4.      Nothing in this stipulation and order shall preclude a finding that other provisions
 2           of the Speedy Trial Act dictate that additional time periods are excludable from the
 3           period within which a trial must commence.
 4
 5   IT IS SO STIPULATED.
 6
 7   Dated: July 26, 2016                              /s/ Dustin D. Johnson
                                                       DUSTIN D. JOHNSON
 8                                                     Counsel for Defendant
                                                       Beshiba Cook
 9
10
     Dated: July 26, 2016                              Phillip A. Talbert
11                                                     Acting United States Attorney
12
                                                       /s/ Jason Hitt (approved via email)
13                                                     Jason Hitt
                                                       Assistant United States Attorney
14
15
16
                                                ORDER
17
             IT IS SO ORDERED.
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     Dated: July 29, 2016
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